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                                                                                                                                              UNITED STATES DISTRICT COURT
                                                                                                                                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                                                                                                                                   SOUTHERN DIVISION


                                                                                                                     NATIONWIDE LIFE INSURANCE COMPANY,
                                                                                                                     a foreign corporation,

                                                                                                                                  Plaintiff/Counter-Defendant,

                                                                                                                     vs.                                                      Case No. 11-cv-12422-AC-MKM
                                                                                                                                                                              Hon. Avern Cohn

                                                                                                                     WILLIAM KEENE, JENNIFER KEENE,
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                     MONICA LYNNE LUPILOFF, NICOLE RENEE
                                                                                                                     LUPILOFF and NICOLE RENEE LUPILOFF,
               A PROFESSIONAL CORPORATION




                                                                                                                     PERSONAL REPRESENTATIVE OF THE ESTATE
                                                                                                                     OF GARY LUPILOFF, DECEASED,
                                                                                                                                                                             STATEMENT OF MATERIAL FACTS
                                                                                                                                  Defendants,
HARVEY KRUSE




                                                                                                                     and

                                                                                                                     MONICA LYNNE LUPILOFF, NICOLE RENEE
                                                                                                                     LUPILOFF and NICOLE RENEE LUPILOFF,
                                                                                                                     PERSONAL REPRESENTATIVE OF THE ESTATE
               ATTORNEYS & COUNSELORS




                                                                                                                     OF GARY LUPILOFF, DECEASED,

                                                                                                                                  Defendants/Counter-Plaintiffs and Cross-Plaintiffs,

                                                                                                                     vs.

                                                                                                                     WILLIAM KEENE, JENNIFER KEENE,
                                                                                                                     Individually, jointly and severally,

                                                                                                                                  Defendants/Cross-Defendants.

                                                                                                                     _____________________________________________________________________________/
                                                                                                                     Michael F. Schmidt P25213               Albert L. Holtz P15088
                                                                                                                     Nathan Peplinski P66596                 Attorney for Monica Lupiloff, Nicole Lupiloff
                                                                                                                     Attorneys for Plaintiff                 and Nicole Lupiloff, Per Rep of the Estate of
                                                                                                                     1050 Wilshire Drive, Suite 320          Gary Lupiloff, Deceased
                                                                                                                     Troy, MI 48084                          3910 Telegraph Road, Suite 200
                                                                                                                     (248)649-7800                           Bloomfield Hills, MI 48302
                                                                                                                                                             (248)593-5000
                                                                                                                     Case 2:11-cv-12422-AC-MKM ECF No. 52, PageID.936 Filed 12/18/12 Page 2 of 9




                                                                                                                     John H. Bredell P36577                  Geoffrey N. Fieger P30441
                                                                                                                     Attorney for Keenes                     Jeffrey A. Danzig P36571
                                                                                                                     119 N. Huron Street                     Co-Counsel for Monica Lupiloff, Nicole
                                                                                                                     Ypsilanti, MI 48197                     Lupiloff and Nicole Lupiloff, Per Rep of the
                                                                                                                     (734)482-5000                           Estate of Gary Lupiloff, Deceased
                                                                                                                                                             19390 West Ten Mile Road
                                                                                                                                                             Southfield, MI 48075
                                                                                                                                                             (248)355-5555
                                                                                                                     ____________________________________________________________________________/

                                                                                                                                 STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                                                                                                                       PLAINTIFF’S MOTION TO COMPEL THE KEENE DEFENDANTS TO PROVIDE
                                                                                                                                  DISCOVERY BASED ON THE KEENE DEFENDANTS’
                                                                                                                                 FAILURE TO COMPLY WITH THE COURT’S ORDERS
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                                                                                                                        I.        The Parties and Their Relationships
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                                                                                                                             1.        Plaintiff Nationwide Life Insurance Company (Nationwide) is an Ohio

                                                                                                                     corporation with its principal place of business located in Columbus, Ohio.             (Nationwide
HARVEY KRUSE




                                                                                                                     Corporate Information, Exhibit 1)

                                                                                                                             2.        Defendant William Keene is a resident of Ann Arbor, Michigan. (Interpleader

                                                                                                                     Complaint, Exhibit 2, ¶ 2; Keene Defendants’ Answer, Exhibit 3, ¶ 2)
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                                                                                                                             3.        Defendant Jennifer Keene1 is a resident of Ann Arbor, Michigan. (Exhibit 2, ¶ 3;

                                                                                                                     Exhibit 3, ¶ 3)

                                                                                                                             4.        Defendant Monica Lynn Lupiloff (Monica) is a resident of Cook County, Illinois.

                                                                                                                     (Lupiloff Defendants’ Answer, Exhibit 4, ¶ 4)

                                                                                                                             5.        Defendant Nicole Renee Lupiloff (Nicole) is a resident of Oakland County,

                                                                                                                     Michigan. (Exhibit 2, ¶ 5; Exhibit 4, ¶ 5)

                                                                                                                             6.        Nicole is the personal representative of the estate of Gary Lupiloff. (Exhibit 2, ¶

                                                                                                                     6; Exhibit 4, ¶ 6)




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                                                                                                                                  7.       On November 28, 2003, Nationwide issued Gary Lupiloff a policy of life

                                                                                                                     insurance, Policy No. L034804300, with a face value of $500,000. (Policy, Exhibit 5)

                                                                                                                                  8.       The policy listed Gary Lupiloff as the owner, Gary Lupiloff as the insured,

                                                                                                                     William Keene/ATIMA as the primary beneficiary, and Nicole and Monica as contingent

                                                                                                                     beneficiaries. (Exhibit 5)

                                                                                                                                  9.       William was Gary Lupiloff’s business partner. (Exhibit 5)

                                                                                                                                  10.      Nicole and Monica were Gary Lupiloff’s daughters. (Exhibit 5)
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                                                                                                                           II.          The Court’s Jurisdiction and Venue

                                                                                                                                  11.      The policy provides for potential coverage greater than $75,000, and thus, the
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                                                                                                                     amount in controversy is greater than $75,000. (Exhibit 5)

                                                                                                                                  12.      As explained above, the citizenship of the parties is diverse. (Exhibits 1-4)
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                                                                                                                                  13.      This Court has jurisdiction pursuant to 28 USC 1332(a).

                                                                                                                                  14.      This case also involves an interpleader action allowed by FRCP 22.
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                                                                                                                                  15.      More than one defendant resides in the Eastern District of Michigan.

                                                                                                                                  16.      A substantial portion of the events involved in this case occurred in the Eastern

                                                                                                                     District of Michigan.

                                                                                                                                  17.      Venue is proper in this Court pursuant to 28 USC 1391.

                                                                                                                           III.         The Discovery Requests and Initial Answers

                                                                                                                                  18.      On July 21, 2011, Nationwide served interrogatories and requests to produce on

                                                                                                                     the Keenes. William and Jenifer each received a separate set of discovery requests, but those

                                                                                                                     discovery requests sought the same information from William and Jennifer.                          (Jennifer’s

                                                                                                                     Discovery Requests, Exhibit 6; William’s Discovery Requests, Exhibit 7) Pursuant to FRCP 33


                                                                                                                     1
                                                                                                                       Nationwide will refer to William and Jennifer Keene collectively as the Keenes and individually by their first
                                                                                                                     name.


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                                                                                                                     and FRCP 34, answers were due within 30 days, which would be August 20, 2011.

                                                                                                                                19.      William failed to supply proper responses to the discovery requests and the

                                                                                                                     responses he did provide were untimely, incomplete, and evasive. Significantly, William failed

                                                                                                                     to answer the requests concerning his financial information which is important given that this

                                                                                                                     case centers on potential insurance fraud and murder for profit. (William’s Responses, Exhibit

                                                                                                                     8)

                                                                                                                                20.      Likewise, Jennifer failed to provide proper responses to the discovery requests.
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                                                                                                                     Instead, Jennifer refused to provide any discovery responses claiming that the requests were “not

                                                                                                                     applicable to this Defendant” for almost every response. (Jennifer’s Responses, Exhibit 9)
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                                                                                                                                21.      In an effort to obtain this discovery, Nationwide sent a letter to the Keene’s

                                                                                                                     attorney on October 3, 2011 detailing the missing information and requesting complete answers
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                                                                                                                     to the discovery requests. (10/3/11 Letter, Exhibit 10)

                                                                                                                          IV.         The Supplemental Answers and Second Request for Complete Answers
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                                                                                                                                22.          On October 21, 2011, Nationwide received a letter and supplemental answers

                                                                                                                     to the discovery requests from the Keenes. (Supplemental Answers, Exhibit 11) Only some of

                                                                                                                     the information was provided and the critical financial information necessary for this case

                                                                                                                     remained missing. (Exhibit 11)

                                                                                                                                23.         On October 26, 2011, Nationwide sent a second letter detailing the missing

                                                                                                                     information. The Keenes never responded to this request to complete their answers. (10/26/11

                                                                                                                     Letter, Exhibit 12)

                                                                                                                          V.          The Court Orders The Keenes To Provide Complete Answers

                                                                                                                                24.         Because William’s responses to discovery were incomplete, plaintiff prepared

                                                                                                                     a motion to compel and sent it to defendants’ counsel seeking concurrence. This motion was

                                                                                                                     discussed with the Court on January 11, 2012.


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                                                                                                                            25.           As a result of this conference, on February 13, 2012, a Stipulated Order was

                                                                                                                     entered requiring defendants, in pertinent part, to “5. Answer discovery requests 15, 17, and 19

                                                                                                                     regarding defendant William Keene.” (2/13/12 Stipulated Order, Exhibit 13)

                                                                                                                            26.           Interrogatory 15 required William to provide information regarding his

                                                                                                                     employment and salary history for the past ten years, his involvement in other litigation and

                                                                                                                     insurance claims, and any arrests or convictions for any crimes. (William’s Discovery Requests,

                                                                                                                     Exhibit 7)
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                                                                                                                            27.           Pursuant to Interrogatory 17, William was to provide the following information:
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                                                                                                                                    (a)      list any and all investments from 1998 through 2010.

                                                                                                                                    (b)      list any accounts, investments, etc. that were closed or placed into
                                                                                                                                             collection from 1998 through 2010.
HARVEY KRUSE




                                                                                                                                    (c)      identify any realtors used from 1998 through 2010.

                                                                                                                                    (d)      identify any accountants used from 1998 through 2010.

                                                                                                                                    (e)      provide all monthly statements or other such documents for all financial
                                                                                                                                             accounts, including, but not limited to, savings accounts, checking
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                                                                                                                                             accounts, money market accounts, 401(k) accounts, IRAs, stocks,
                                                                                                                                             investment accounts, etc. for 1998 through 2010.

                                                                                                                                    (f)      provide copies of all debt documents including, but not limited to,
                                                                                                                                             personal loans, land contracts, promissory notes, mortgages, bank loans,
                                                                                                                                             business loans credit cards, credit accounts, lines of credit, etc. for 1998
                                                                                                                                             through 2010.

                                                                                                                                    (g)      provide all federal, state, and local tax records for 1998 through 2010.
                                                                                                                                             (William’s Discovery Requests, Exhibit 7)

                                                                                                                            28.           William was also required to answer Interrogatory 19 concerning his debt

                                                                                                                     history from 1998 to 2010. (William’s Discovery Requests, Exhibit 7)

                                                                                                                            29.           Per the Stipulated Order, William was to provide the above information within

                                                                                                                     fourteen days. (2/13/12 Stipulated Order, Exhibit 13)

                                                                                                                            30.           At the Court’s direction during the January 11, 2012 conference, on February



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                                                                                                                     17, 2012, plaintiff filed a motion to compel Jennifer to also provide complete discovery

                                                                                                                     responses. (2/17/12 Motion to Compel, Exhibit 14)

                                                                                                                              31.          A Stipulated Order compelling Jennifer to “answer the interrogatories and

                                                                                                                     requests to produce by plaintiff” within fourteen days was entered on April 18, 2012. (4/18/12

                                                                                                                     Stipulated Order, Exhibit 15)

                                                                                                                        VI.         The Supplemental Responses Following the Court’s Orders Are Still Incomplete

                                                                                                                              32.          On March 21, 2012, plaintiff received unsigned and late supplemental
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                                                                                                                     discovery responses from William. (William’s 3/21/12 Supplemental Responses, Exhibit 16)
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                                                                                                                              33.          Plaintiff received supplemental answers from Jennifer on April 25, 2012.

                                                                                                                     (Jennifer’s 4/25/12 Supplemental Responses, Exhibit 17)

                                                                                                                              34.          On July 30, 2012, after reviewing the documents provided by the Keenes,
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                                                                                                                     plaintiff sent a detailed letter to the Keenes’ counsel detailing the information and documentation

                                                                                                                     that was still missing from the discovery responses despite the Court’s two orders. (7/30/12
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                                                                                                                     Letter, Exhibit 18)

                                                                                                                              35.          Specifically, the Keenes failed to fully respond to Interrogatory and Request

                                                                                                                     to Produce Nos. 17(e)-(g) and 18.

                                                                                                                              36.          Defense counsel advised in an e-mail on September 13, 2012, that the Keenes

                                                                                                                     would supplement their answers. (9/13/12 Email, Exhibit 19) No supplement was forthcoming.

                                                                                                                              37.          On October 12, 2012, plaintiff sent a second letter to the Keenes’ counsel

                                                                                                                     advising that that it had still not received any response from the Keenes regarding the missing

                                                                                                                     information detailed in its July 30, 2012 correspondence. (10/12/12 Letter, Exhibit 20) Defense

                                                                                                                     counsel did not respond to this letter.




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                                                                                                                        VII.      The Unanswered Requests

                                                                                                                            38.         Defendants’ supplemental responses to Interrogatory 17 are missing

                                                                                                                     information and documentation for at least seven (7) of their financial accounts for the time

                                                                                                                     period at issue. Plaintiff further identified at least ten (10) entities from the information provided

                                                                                                                     where defendants failed to provide all of the requested debt documents (personal loans, land

                                                                                                                     contracts, promissory notes, mortgages, bank loans, business loans, credit cards, credit accounts,

                                                                                                                     lines of credit, etc.) for the time period at issue. These financial accounts and entities are all
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                                                                                                                     clearly identified in plaintiff’s July 30, 2012 and October 12, 2012 letters. (7/30/12 Letter,
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                                                                                                                     Exhibit 18; 10/12/12 Letter, Exhibit 20)

                                                                                                                            39.         Defendants also failed to provide copies of their tax records and certified

                                                                                                                     copies of their tax returns for 1998 through 2011 as requested by Interrogatory 17(g) and as
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                                                                                                                     ordered by this Court.

                                                                                                                            40.         Nor did defendants provide documentation regarding their income and
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                                                                                                                     expenses for B.K. Development, LLC, BK 2 Development, LLC, or GK Development, LLC. All

                                                                                                                     of these were entities that defendants identified as entities in which they had an interest in the

                                                                                                                     past ten years. (7/30/12 Letter, Exhibit 18)

                                                                                                                            41.      As shown by this Court’s previous orders compelling the Keenes to answer the

                                                                                                                     above interrogatories and requests to produce concerning their finances, the Keenes financial

                                                                                                                     information is potentially relevant to this case and subject to discovery. The information could

                                                                                                                     support the allegations that the Keenes were in financial distress and had a motive to murder

                                                                                                                     Gary Lupiloff, or had him murdered, in order to benefit from his life insurance proceeds.

                                                                                                                     Further, a potential defense to the Keenes’ claims under the policy is that the entire insurance

                                                                                                                     transaction was fraudulent from the inception with the Keenes planning to financially benefit




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                                                                                                                     from the insurance policy by murdering Gary Lupiloff. The Keenes’ financial condition is

                                                                                                                     relevant to these defenses/case theories and is relevant to show motivation for their alleged

                                                                                                                     actions.

                                                                                                                        VIII. Jennifer Keene Refuses To Authorize Production Of Her Mental Health Records

                                                                                                                            42.        After reviewing Jennifer’s employment records that show a history of mental

                                                                                                                     health issues, including around the time of the murder, plaintiff attempted to subpoena Jennifer’s

                                                                                                                     medical records from Dr. Michelle B. Riba on July 23, 2012. (Subpoena Request, Exhibit 21)
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                                                                                                                            43.        In order to obtain these medical records, an authorization form was sent to
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                                                                                                                     defense counsel for Jennifer to execute. Jennifer has refused to provide such an authorization.

                                                                                                                            44.        From the records reviewed to date, it appears that Jennifer was treating with

                                                                                                                     Dr. Riba for various mental health problems and for problems at work around the time of the
HARVEY KRUSE




                                                                                                                     murder. This included the fact that she was placed on a Last Chance Agreement at work.

                                                                                                                            45.        Jennifer’s mental health records are relevant to this case because they could
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                                                                                                                     show her state of mind both before and after the murder, whether she was experiencing any

                                                                                                                     undue anxiety, and could provide important information regarding her job status/security. In

                                                                                                                     other words, this information could explain the motivation behind Lupiloff’s murder.

                                                                                                                            46.        Jennifer has not provided an authorization for Dr. Riba’s records.

                                                                                                                            47.        A telephone conference regarding this discovery was held with the Court on

                                                                                                                     November 8, 2012, during which time the Court advised plaintiff to file this motion.




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                                                                                                                     CERTIFICATE OF SERVICE                                             Respectfully submitted,
                                                                                                                     I hereby certify that the foregoing pleading has been
                                                                                                                     electronically filed with the Clerk of the Court on the            BY: /s/Michael F. Schmidt
                                                                                                                     below listed date via the Electronic Case Filing system,                  Michael F. Schmidt P25213
                                                                                                                     which will send notice of filing to all attorneys of record.              Kimberly A. Kardasz P57694
                                                                                                                                                                                               Nathan Peplinski P66596
                                                                                                                     /s/Lisa M. Simpkins________________                                       Harvey Kruse P.C.
                                                                                                                                                                                               Attorneys for Plaintiff
                                                                                                                     Secretary Harvey Kruse PC
                                                                                                                     1050 Wilshire Drive, Suite 320                                           mschmidt@harveykruse.com
                                                                                                                     Troy, MI 48084-1526                                                      kkardasz@harveykruse.com
                                                                                                                     DATED: December 18, 2012                                                 npeplinski@harveykruse.com
                                                                                                                                                                                              1050 Wilshire Drive, Suite 320
                                                                                                                                                                                              Troy, Michigan 48084-1526
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                                                                                              (248) 649-7800
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